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                                                United States Bankruptcy Court
                                                      Northern District of Georgia
         Hakeem Adebayo Seedy
 In re                                                                                             Case No.
                                                                      Debtor(s)                    Chapter       13

                                                     CHAPTER 13 PLAN

Extension                                                                              Composition

         You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the
Bankruptcy Court may modify your rights by providing for payment of less than the full amount of your claim,
by setting the value of the collateral securing your claim, and/or by setting the interest rate on your claim.

Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or
such portion of future earnings or other future income of Debtor as is necessary for the execution of this Plan.

2. Plan Payments and Length of Plan. Debtor will pay the sum of $420.00 Monthly to Trustee by                      Payroll
Deduction(s) or by       Direct Payment(s) for the applicable commitment period of 60 months, unless all allowed claims
in every class, other than long-term claims, are paid in full in a shorter period of time. The term of this Plan shall not exceed
sixty (60) months. See 11 U.S.C. §§ 1325(b)(1)(B) and 1325(b)(4). Each pre-confirmation plan payment shall be reduced
by any pre-confirmation adequate protection payment(s) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).

         The following alternative provision will apply if selected:

             IF CHECKED, Plan payments will increase by $          in month       upon completion or termination of    .

3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief. An
allowed proof of claim will be controlling, unless the Court orders otherwise. Objections to claims may be filed before or
after confirmation.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as
set forth below, unless the holder of such claim or expense has agreed to a different treatment of its claim.

        (A). Trustee's Fees. The Trustee shall receive a statutory fee in the amount established by the Attorney
General and the United States Trustee.

          (B). Debtor and Debtor’s attorney have agreed to a base attorney fee in the amount of $3,990.00 for the
services identified in the Rule 2016(b) disclosure statement filed in this case. The amount of $0.00 was paid prior to the
filing of the case. The Trustee shall disburse the unpaid amount of the fee, $3,990.00, as allowed under General Order
18-2015, as follows: (1) Upon the first disbursement following confirmation of a Plan, the Trustee shall disburse to
Debtor’s attorney from the funds available and paid into the office of the Trustee by Debtor or on Debtor’s behalf, up to
$3,990.00 after the payment of any payments under 11 U.S.C. § 1326(a)(1)(B) or (C) and administrative fees. The
remaining balance of the fees shall be paid up to $480.00 per month until the fees are paid in full; (2) If the case is
converted prior to confirmation of the plan, Debtor directs the Trustee to pay fees to Debtor’s attorney from the funds
available of $3,990.00 (amount not to exceed $2,000.00); (3) If the case is dismissed prior to confirmation of the plan,
fees for Debtor’s attorney of $3,990.00 as set forth on the 2016(b) disclosure statement (amount not to exceed $2,000)
are allowed pursuant to General Order 18-2015 and shall be paid by the Trustee from the funds available without a fee
application. Debtor’s attorney may file a fee application for fees sought over $2,000.00 within 10 days of the Order of
Dismissal; (4) If the case is converted after confirmation of the plan, Debtor directs the Trustee to pay to Debtor’s
attorney from the funds available, any allowed fees which are unpaid; and (5) If the case is dismissed after confirmation
of the plan, Trustee shall pay to Debtor’s attorney from the funds available, any allowed fees which are unpaid.
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          Debtor and Debtor's attorney have further agreed that Debtor's attorney may be paid for "non-base" services as
they are performed at the Debtor's request on an as-needed basis. These "non-base" services, and the agreed fee for each,
are identified in Paragraph 7 of the Rule 2016(b) disclosure statement filed in this case. Upon completion of a "non-
base" service, Debtor's attorney may file an application with the Court, serving all parties in interest with notice of the
application and providing an opportunity to be heard on the matter. If the "non-base" fee is approved by the Court, then
the fee shall be added to the balance of the unpaid base fee in accordance with paragraph (B)(1) above. If the base fee
has been paid in full, then the fee shall be paid up to $150 per month, and the distribution to creditors shall be reduced,
pro rata, by that amount until until the additional fee is paid in full.

5. Priority Claims.

           (A). Domestic Support Obligations.

   None. If none, skip to Plan paragraph 5(B).

                   (i). Debtor is required to pay all post-petition domestic support obligations directly to the holder of the
                   claim.

                   (ii). The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11
                   U.S.C. §§ 101(14A) and 1302(b)(6).

                      -NONE-

                   (iii). Anticipated Domestic Support Obligation Arrearage Claims

                      (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be
                      paid in full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims
                      secured by personal property, arrearage claims secured by real property, and arrearage claims for
                      assumed leases or executory contracts.

                          None; or

(a)                                                                                        (b)                                            (c)
Creditor                                                                  Estimated arrearage                    Projected monthly arrearage
(Name and Address)                                                                      claim                                       payment
-NONE-


                      (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims
                      are assigned to, owed to, or recoverable by a governmental unit.

                         None; or
                        Claimant and proposed treatment:            -NONE-

        (B). Other Priority Claims (e.g., tax claims). All other allowed priority claims will be paid in full, but will not be
funded until after all secured claims, lease arrearage claims, and domestic support claims are paid in full.


(a)                                                                                                                                           (b)
Creditor                                                                                                                         Estimated claim
Georgia Department of Revenue                                                                                                               0.00
Internal Revenue Service                                                                                                                    0.00

6. Secured Claims.

           (A). Claims Secured by Personal Property Which Debtor Intends to Retain.
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              (i). Pre-confirmation adequate protection payments. No later than 30 days after the date of the filing
              of this plan or the order for relief, whichever is earlier, the Debtor shall make the following adequate
              protection payments to creditors pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate
              protection payments on allowed claims to the Trustee pending confirmation of the plan, the creditor
              shall have an administrative lien on such payment(s), subject to objection. If Debtor elects to make
              such adequate protection payments directly to the creditor, Debtor shall provide evidence of such
              payment to the Trustee, including the amount and date of the payment.

              Debtor shall make the following adequate protection payments:

                 directly to the creditor; or

                 to the Trustee pending confirmation of the plan.

                                                                                                                                    (c)
(a)                                         (b)                                                                    Adequate protection
Creditor                                    Collateral                                                                payment amount
-NONE-


              (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by
              personal property shall be paid as set forth in subparagraphs (a) and (b). If the Debtor elects to propose a
              different method of payment, such provision is set forth in subparagraph (c).

                 (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist
                 of debts secured by a purchase money security interest in a vehicle for which the debt was incurred
                 within 910 days of filing the bankruptcy petition, or, if the collateral for the debt is any other thing
                 of value, the debt was incurred within 1 year of filing. See § 1325(a)(5). After confirmation of the
                 plan, the Trustee will pay to the holder of each allowed secured claim the monthly payment in
                 column (f) based upon the amount of the claim in column (d) with interest at the rate stated in
                 column (e). Upon confirmation of the plan, the interest rate shown below or as modified will be
                 binding unless a timely written objection to confirmation is filed and sustained by the Court.
                 Payments distributed by the Trustee are subject to the availability of funds.

                     None; or

                                                                      (c)                       (d)                                (f)
(a)                    (b)                                         Purchase                  Claim      (e)                   Monthly
Creditor               Collateral                                    date                   amount Interest rate              payment
-NONE-

                 (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of
                 any claims secured by personal property not described in Plan paragraph 6(A)(ii)(a). After
                 confirmation of the plan, the Trustee will pay to the holder of each allowed secured claim the
                 monthly payment in column (f) based upon the replacement value as stated in column (d) or the
                 amount of the claim, whichever is less, with interest at the rate stated in column (e). The portion of
                 any allowed claim that exceeds the value indicated below will be treated as an unsecured claim.
                 Upon confirmation of the plan, the valuation and interest rate shown below or as modified will be
                 binding unless a timely written objection to confirmation is filed and sustained by the Court.
                 Payments distributed by the Trustee are subject to the availability of funds.
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                          None; or

                                                                          (c)                     (d)                                  (f)
(a)                         (b)                                        Purchase          Replacement       (e)                    Monthly
Creditor                    Collateral                                   date                   value Interest rate               payment
-NONE-


                      (c). Other provisions.


          (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition
mortgage payments directly to each mortgage creditor as those payments ordinarily come due. These regular monthly
mortgage payments, which may be adjusted up or down as provided for under the loan documents, are due beginning the
first due date after the case is filed and continuing each month thereafter, unless this Plan provides otherwise. Trustee may
pay each allowed arrearage claim at the monthly rate indicated below until paid in full. Trustee will pay interest on the
mortgage arrearage if the creditor requests interest, unless an objection to the claim is filed and an order is entered
disallowing the requested interest.

                                     (b)                                                              (c)                               (d)
(a)                                  Property                                     Estimated pre-petition                  Projected monthly
Creditor                             description                                              arrearage                   arrearage payment
Roundpoint Mortgage                  Residence –
Servicing Corp. / Taylor Bean        2522 Mead Court                                                                       $100 increasing
& Whitaker Mortgage Corp.            Jonesboro, GA                                            $10,000.00               to $390 in Dec 2016
                                     Residence –                                                                    To be paid in full upon
Ackerman Security Systems            Materialman’s Lien                                          $315.00              confirmation of plan

           (C). Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the
filing of the petition unless specified otherwise in the Plan. Any claim filed by a secured lien holder whose collateral is
surrendered will be treated as unsecured. Any involuntary repossession/foreclosure prior to confirmation of this Plan must
be obtained by a filed motion and Court order, unless the automatic stay no longer applies under § 362(c). Upon Plan
confirmation, the automatic stay will be deemed lifted for the collateral identified below for surrender and the creditor
need not file a Motion to Lift the Stay in order to repossess, foreclose upon or sell the collateral. Nothing herein is
intended to lift any applicable co-Debtor stay, or to abrogate Debtor's state law contract rights.

(a)                                                                    (b)
Creditor                                                               Collateral to be surrendered
-NONE-

7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan paragraph
10 is $ 0.00 . After all other classes have been paid, Trustee will pay to the creditors with allowed general unsecured
claims a pro rata share of $ 0.00_ or 100 %, whichever is greater. Trustee is authorized to increase this dollar amount
or percentage, if necessary, in order to comply with the applicable commitment period stated in paragraph 2 of this Plan.

8. Executory Contracts and Unexpired Leases. The following executory contracts and unexpired leases are assumed, and
payments due after the filing of the case will be paid directly by Debtor, not through Trustee, as set forth below in column
(c).

         Debtor proposes to cure any default by paying the arrearage on the assumed leases or contracts in the amounts
projected in column (d) at the same time that payments are made to secured creditors. All other executory contracts and
unexpired leases of personal property are rejected upon conclusion of the confirmation hearing.
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   None; or

                (a)                                 (b)                             (c)                                 (d)
              Creditor                       Nature of lease or             Payment to be paid        Projected arrearage monthly payment
                                             executory contract             directly by Debtor      through plan (for informational purposes)
-NONE-

9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor's discharge or dismissal
of this case, unless the Court orders otherwise

10. Other Provisions:

(A) Debtor(s) student loans are currently in deferment. Once deferment ends Debtor(s) shall pay student loans directly.

(B). The Debt owed to American Motor Credit for the 2015 Ford Fiesta will be paid in full as a long term debt (ends
6/2021).

(C). Any creditor which is to be paid directly under this Plan is authorized and encouraged to send monthly billing
statements to the Debtor(s) at the mailing address on record with the Bankruptcy Courthouse in this case.

(D). Other allowed secured claims: A proof of claim which is filed and allowed as a secured claim, but is not treated
specifically under the plan, shall be funded with 0 % interest as funds become available after satisfaction of the allowed
secured claims which have been treated by the plan and prior to payment of allowed non-administrative priority claims
(except domestic support obligation claims as set forth in paragraph 5(A), above) and general unsecured claims.
Notwithstanding the foregoing, the Debtor or any other party in interest may object to the allowance of the claim.

(E). Claims subject to lien avoidance pursuant to 11 U.S.C. §522(f): The allowed secured claim of each creditor listed
below shall not be funded until all allowed, secured claims which are being treated by the plan are satisfied. If an order is
entered avoiding the creditor's lien, that creditor's claim shall be treated as a general, unsecured claim to the extent it is not
otherwise secured by property of the estate and treated by the plan. To the extent that the creditor's lien is not avoided and
is not otherwise treated by the plan, the secured claim shall be funded as set forth in the above paragraph. This paragraph
shall apply to the following creditors:

(F). If the debtor(s) is/are purchasing real estate and the real estate taxes are not included in the monthly mortgage
payments then debtor(s) shall establish and fund a real estate tax escrow account, fund it on a monthly basis for the purpose
of preserving funds for the regular payment of all ongoing tax and insurance obligations, timely file all tax returns, timely
pay all taxes, and report in writing to the Trustee on a quarterly basis.

(G). If the debtor(s) is/are self-employed then debtor(s) shall establish and fund a self-employment tax escrow account and
fund it on a monthly basis for the purpose of preserving funds for the regular payment of all ongoing tax obligations.

(H) Mortgage Claims Secured by Residential Real Property Which Debtor Seeks to have Modified to General, Nonpriority
Unsecured pursuant to 11 U.S.C. § 506 and 11 U.S.C. § 1322(b)(2).

(I). Debtor authorizes and agrees that any post-petition domestic support obligation payments may be paid through a state or
superior court income deduction order. Further, DCSS may utilize review and modification procedures of the domestic
support obligation when allowed under state law, as detailed in 11 U.S.C. § 362(b)(2).

(J) Any fees, expenses and charges asserted under Fed. R. Bankr. P. 3002.1(c) are not to be funded through the Chapter 13
plan and that the Debtor will pay these post-petition expenses directly to their mortgage holder/servicer unless they are
disallowed by Order of the Court.
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Date January 29, 2016                        Signature   /s/ Hakeem Adebayo Seedy
                                                         Hakeem Adebayo Seedy
                                                          Debtor(s)

Attorney /s/ Lorena L. Saedi
          Lorena L. Saedi 622072
